    Case 18-28815-MBK          Doc 58     Filed 02/06/23 Entered 02/06/23 13:29:42            Desc Main
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        UNITED STATES BANKRUPTCY COURT
        DISTRICT OF NEW JERSEY
                                                                       Order Filed on February 6, 2023
        Caption in Compliance with D.N.J. LBR 9004-2(c)                by Clerk
         MARTONE & UHLMANN, P.C.                                       U.S. Bankruptcy Court
         777 PASSAIC AVENUE, SUITE 535                                 District of New Jersey

         CLIFTON, NJ 07012
         (973) 473-3000
         BKY@MARTONELAW.COM
         ATTORNEYS FOR SECURED
         CREDITOR/SERVICING AGENT
                                                          Case No. 18-28815
        PNC BANK, NATIONAL ASSOCIATION
         36.7310
                                                          Judge: Hon. Michael B. Kaplan
         In re:
                                                          Chapter 13
         Mark McFadden and Jacqueline E McFadden


                       ORDER VACATING STAY AS TO REAL PROPERTY

                   The relief set forth on the following page is hereby ORDERED.




DATED: February 6, 2023
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Debtor:           Mark McFadden and Jacqueline E McFadden
Case No.:         18-28815
Caption of Order: Order Vacating Stay as to Real Property
______________________________________________________________________

       Upon review of the Secured Creditor’s, PNC BANK, NATIONAL ASSOCIATION,
application for an Order Vacating Stay based upon Debtor’s breach of the Terms of the
Consent Order dated April 28, 2022, under Bankruptcy Code Section 362(a), and
Secured Creditor’s Certification of Default and Certification regarding Default of Post-
Petition Payments, for relief from the automatic stay as to certain Real Property as
hereinafter set forth, and for cause shown, it is

       1.     ORDERED that the automatic stay is vacated to permit the movant or its
assignees to institute or resume and prosecute to conclusion one or more actions in the
court(s) of appropriate jurisdiction to foreclose mortgage(s) held by the movant upon the
following Real Property more fully described as 7 HARTMAN DRIVE, HAMILTON, NJ
08690; and

      2.     It is further ORDERED that the movant may join the Debtor and any trustee
appointed in this case as defendants in its foreclosure actions(s) irrespective of any
conversion to any other chapter of the Bankruptcy Code.

      3.     It is further ORDERED that the 14-day stay under Rule 4001(a)(3) is hereby
waived by Debtor.

       4.   The movant shall serve a filed copy of this Order on the Debtor via regular
mail. The Debtor’s attorney and Chapter 13 Trustee will be served electronically via the
U.S. Bankruptcy Court’s CM/ECF system.
